     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 1 of 18




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

Alyssa Enegren, Individually and on       )
Behalf of All Others Similarly Situated,  )
                                          )
                   Plaintiffs,            )
                                          )
v.                                        ) Civil Action No.
                                          )
KC Lodge Ventures LLC,                    )
St. Louis Lodge Ventures LLC,             )
and PB&J Restaurants, Inc.,               )
                                          )
                   Defendants.            )
__________________________________________)

                                   COMPLAINT

                                   Introduction

      This case is a Fair Labor Standards Act collective action brought on behalf of

“Twin Peaks Girls” who work or have worked at Twin Peaks franchise restaurants

in Kansas and Missouri. The relevant Twin Peaks restaurants are owned and

operated by KC Lodge Ventures, LLC, St. Louis Lodge Ventures, LLC, and PB&J

Restaurants, Inc. (collectively referred to as “Twin Peaks” or “Defendants”), which

operate as an integrated employer headquartered in Overland Park, Kansas.

      Twin Peaks employs Servers, Bartenders, and Hostesses (collectively referred

to as “Twin Peaks Girls”), who are subjected to Twin Peaks’ unlawful pay practices.

As explained in detail below, Twin Peaks systematically and willfully denies Twin

Peaks Girls wages due and owing under the Fair Labor Standards Act, 29 U.S.C.

§ 201 et seq. (“FLSA”). Whether pled in the past or present tense, the allegations in

this Complaint should be understood to mean that Twin Peaks has engaged in these
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 2 of 18




unlawful pay practices during the entire time it has operated these Twin Peaks

franchise restaurants and continues to do so.

      First, Twin Peaks fails to pay Twin Peaks Girls for all hours worked.

Specifically, Twin Peaks does not pay Twin Peaks Girls for time attending

mandatory pre-shift meetings, time attending mandatory monthly meetings, and

time changing into and out of their uniforms as required by Twin Peaks.

      Second, Twin Peaks requires Twin Peaks Girls to purchase their own

uniforms. Twin Peaks’ failure to reimburse Twin Peaks Girls for their uniform

expenses constitutes a “kickback” to Twin Peaks, such that Twin Peaks Girls’ net

wages are diminished below the minimum wage.

      Third, Twin Peaks requires Servers to share their tips with non-Servers

based on a fixed percentage of each Server’s gross sales. As a result of this

mandatory tip-sharing, Servers sometimes do not make enough in tips to satisfy the

“tip credit” claimed by Twin Peaks, such that the hourly wages paid to Twin Peaks

Girls are below the minimum wage.

      As a result of the foregoing pay practices, Twin Peaks Girls are illegally

undercompensated for their work, in violation of the FLSA. Alyssa Enegren brings

this collective action on behalf of all similarly situated persons pursuant to 29

U.S.C. § 216(b).




                                           2
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 3 of 18




                                      Parties

      1.     Plaintiff Alyssa Enegren is an individual residing in the state of

Kansas.

      2.     Enegren worked as a Server and a Bartender at the West Wichita

Twin Peaks restaurant from the time Defendants owned and operated it until

March 17, 2017.

      3.     Enegren brings FLSA claims on behalf of herself and the following

Collective Class of similarly situated persons: All current and former Servers,

Bartenders, and Hostesses (collectively “Twin Peaks Girls”) who worked for

Defendants at any of their Twin Peaks restaurant locations at any time within the

statutory three-year period.

      4.     Defendant KC Lodge Ventures LLC is a Kansas limited liability

company that owns and operates Twin Peaks restaurants in Wichita and Olathe,

Kansas.

      5.     KC Lodge Ventures may be served with process through its registered

agent, KC Lodge Ventures LLC, at 10220 W 87th Street, Overland Park, KS 66212.

      6.     Defendant St. Louis Lodge Ventures LLC is a Kansas limited liability

company that owns and operates Twin Peaks restaurants in St. Louis and

Independence, Missouri.

      7.     St. Louis Lodge Ventures may be served with process through its

registered agent, National Registered Agents, Inc. of KS, at 2101 SW 21st Street,

Topeka, KS 66604.



                                          3
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 4 of 18




      8.     Defendant PB&J Restaurants, Inc. (“PB&J Restaurants”) is a Kansas

corporation that owns and operates restaurants in Kansas and Missouri.

      9.     PB&J Restaurants may be served with process through its registered

agent, National Registered Agents, Inc. of KS, at 112 SW 7th Street, Suite 3C,

Topeka, KS 66603.

      10.    KC Lodge Ventures, St. Louis Lodge Ventures, and PB&J Restaurants

are an integrated employer. They have common ownership, common management,

interrelated operations, and centralized control of personnel.

      11.    KC Lodge Ventures, St. Louis Lodge Ventures, and PB&J Restaurants

share the same corporate office at 10220 W. 87th, Overland Park, KS 66212.

      12.    The CEO of PB&J Restaurants has operational responsibilities for KC

Lodge Ventures and St. Louis Lodge Ventures.

                             Jurisdiction and Venue

      13.    This Court has subject matter jurisdiction over Enegren’s and other

Twin Peaks Girls’ claims pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 201 et seq.

      14.    Venue is proper in this district pursuant to 28 U.S.C. § 1391.

                                        Facts

                            Fair Labor Standards Act

      15.    The Fair Labor Standards Act mandates the following protections for

employees: (1) all employees are entitled to be paid mandated minimum wages for

all hours worked; (2) those mandated minimum wages for all hours worked must be




                                          4
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 5 of 18




paid to the employee free and clear without any kickback to the employer; and (3)

all gratuities earned are the property of the employees.

      16.    Despite the foregoing protections, Twin Peaks Girls are not adequately

compensated due to Twin Peaks’ improper practices.

      17.    Twin Peaks’ improper practices are summarized as follows:

             a.    Twin Peaks fails to pay Twin Peaks Girls for all hours worked.

             b.    Twin Peaks fails to compensate or reimburse Twin Peaks Girls

      for the cost of their uniforms and satisfying other image and costume

      standards, resulting in an improper kickback from Twin Peaks Girls to Twin

      Peaks that drives Twin Peaks Girls’ pay rate beneath the minimum wage.

             c.    Twin Peaks fails to ensure that its Servers are always paid

      minimum wage after mandatory tip sharing with other employees.

      18.    Consequently, Twin Peaks enjoys ill-gained profits at the expense of

Twin Peaks Girls as further detailed below.

                               Twin Peaks Concept

      19.    Twin Peaks is a franchise restaurant concept (colloquially referred to

as a “breastaurant”) known for having its Twin Peaks Girls dress in revealing

uniforms that consist of cleavage- and midriff-revealing red plaid tops and khaki

short-shorts, as well as revealing seasonal and other themed outfits.

      20.    The chain’s slogan is: “Eats. Drinks. Scenic Views.” It promotes its

niche in the casual dining market as one that requires “hotter girls than our

competition.” It aims to stand out by delivering a “unique brand of service,



                                          5
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 6 of 18




hospitality, and scenic views every day,” including “costume parties” that “create a

fun atmosphere.”

                           Twin Peaks Girl Job Description

      21.       The Twin Peaks Girl job description states as follows:

      GENERAL PURPOSE OF THE JOB
      This job requires the Twin Peaks Girl to interact with, entertain, and
      build a rapport with the Twin Peaks guests. The essence of the role is
      based on female sex appeal. It is additionally required that the Twin
      Peaks Girl sell food, beverage, and merchandise to the guests. The
      Twin Peaks Girl image is based on the wholesome, yet sexy, Girl Next
      Door image.
      THE UNIFORM
      The Twin Peaks Girl character is what makes the Twin Peaks concept
      unique. The essence of the Twin Peaks Brand Promise is that each
      guest who visits will be entertained by a physically fit Twin Peaks Girl
      with fully styled hair and makeup, a character based on female sex
      appeal. When an employee is wearing the Twin Peaks Uniform, she is
      playing a role. It is therefore essential that each Twin Peaks Girls
      understand that whenever she is working, she must comply with Twin
      Peaks Image and Costume Standards that demand a high level of
      fitness and fully styled hair and makeup.
      ESSENTIAL DUTIES AND RESPONSIBILITIES
      The duties and responsibilities of a Twin Peaks Girl include, but are
      not limited to,

               Adhering to all Image and Costume Standards.




                                            6
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 7 of 18




                            Twin Peaks Girls Uniform

      22.    The standard Twin Peaks Girls uniform consists of a red plaid top tied

at the waist and khaki short-shorts, boots, belt, and jewelry, all of which must meet

specifications. Twin Peaks Girls are required to purchase all elements of this

uniform except for the top, which is provided by Twin Peaks.

      23.    Twin Peaks also requires Twin Peaks Girls to wear seasonal and other

themed outfits for holidays and other special occasions approximately one week per

month. These outfits are not street clothes that can be worn outside of work and

include “sexy school girl” outfits, sexy Halloween costumes, “Santa’s little helper”

lingerie, and St. Patrick’s Day, Mardis Gras, and other holiday-themed lingerie in

prescribed colors.

      24.    Twin Peaks also requires Twin Peaks Girls to wear college and

professional sports themed uniforms on game days. The shorts must be tight-fitting

and the t-shirts and jerseys must be tight and cut or torn to expose their cleavage

and midriffs in such a way that they could not be worn outside of work.

      25.    Twin Peaks also has strict image and costume standards pertaining to

hair, makeup, nails, and jewelry.

      26.    Twin Peaks does not reimburse Twin Peaks Girls for the cost of

purchasing required uninforms and otherwise complying with the image and

costume standards, causing these expenses to come from Twin Peaks Girls’ wages.

This constitutes an improper “kickback” to Twin Peaks that results in Twin Peaks

Girls earning less than the minimum wage.



                                           7
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 8 of 18




                              Unpaid Pre-shift Meetings

      27.       Twin Peaks requires Twin Peaks Girls to report “stage-ready”—in full

uniform and fully styled hair and makeup in conformance with the image and

costume standards—to a mandatory pre-shift meeting 30 minutes before opening or

shift change.

      28.       During these mandatory pre-shift meetings, Twin Peaks Girls are

informed of daily specials, promotional activities, the staffing plan and section

assignments for that shift, and other work-related information.

      29.       Twin Peaks Girls then undergo an appearance inspection in which

managers rate and grade them based on costume, hair, makeup, and other criteria.

      30.       Twin Peaks does not pay Twin Peaks Girls for attending these

mandatory pre-shift meetings.

   Changing Clothes and Complying with Image and Costume Standards

      31.       Twin Peaks Girls cannot perform their principal activities without

putting on their uniforms.

      32.       To be stage-ready at the start of the pre-shift meeting, Twin Peaks

Girls typically arrive 10-30 minutes before the pre-shift meeting to change into

their uniform and style or touch up their hair and makeup so they are fully styled in

conformance with Twin Peaks’ strict image and costume standards.

      33.       Twin Peaks provides an onsite dressing room in which Twin Peaks

Girls change clothes and style hair and makeup.




                                            8
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 9 of 18




      34.    Twin Peaks forbids Twin Peaks Girls from being in uniform when

arriving at or leaving work. Accordingly, Twin Peaks Girls must change clothes on

the premises—either changing into and out of their uniforms, or taking off and

putting back on regular street clothes to cover their uniforms, at the beginning and

end of each shift.

      35.    Twin Peaks Girls must be in compliance with the image and costume

standards by the time the mandatory pre-shift meeting starts because they are

graded and rated on their appearance every day.

      36.    Twin Peaks Girls’ ratings, which are posted every week, are used to

determine priority for selection of schedules and serving section (which naturally

affects compensation) and other perquisites of employment.

      37.    Twin Peaks does not pay Twin Peaks Girls for their time spent

attending pre-shift meetings, performing preparatory work, changing clothes and

adhering to image and costume standards on Twin Peaks’ premises, or undergoing

appearance inspections.

                            Unpaid Monthly Meetings

      38.    Twin Peaks requires Twin Peaks Girls to attend “Girl of the Month”

meetings that occur monthly on Saturdays.

      39.    Twin Peaks Girls are not paid for their time attending these

mandatory monthly meetings.

      40.    Missing these mandatory meetings is the equivalent of missing a shift

for performance review purposes.



                                          9
    Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 10 of 18




                                      Tip Sharing

        41.     The federal minimum wage at all relevant times has been $7.25 per

hour.

        42.     Under certain circumstances, an employer may take a “tip credit” (up

to $5.12 per hour) and pay its employees less than minimum wage, as long as the

cash wage paid by the employer plus the amount of the employee’s tips from

customers applied toward the tip credit equals the minimum wage.

        43.     Instead of paying its Servers the minimum wage, Twin Peaks takes a

tip credit and pays its servers substantially less than minimum wage.

        44.     Twin Peaks requires its Servers to share tips with non-Servers. This

tip-sharing requirement sometimes drives Servers’ wages below minimum wage.

        45.     Twin Peaks fails to make up the difference when Twin Peaks Girls

make less than minimum wage due to required tip sharing.

                                    Causes of Action

              Count I: Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

        46.     Enegren incorporates by reference all other paragraphs of this

Complaint.

        47.     Twin Peaks is a covered employer under the FLSA and is subject to the

FLSA’s minimum wage requirements.

        48.     Twin Peaks Girls are covered individuals entitled to the rights,

protections, and benefits provided under the FLSA.




                                            10
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 11 of 18




       49.    Twin Peaks has acted neither in good faith nor with reasonable

grounds to believe its actions and omissions were not a violation of the FLSA.

Accordingly, Twin Peaks Girls are entitled to recover an award of liquidated

damages in an amount equal to the amount of unpaid minimum wages and

unreimbursed expenses under 29 U.S.C. § 216(b).

                            a.    Unpaid Time Worked

       50.    Enegren incorporates by reference all other paragraphs of this

Complaint.

       51.    Twin Peaks Girls are paid on an hourly basis and are subject to the

minimum wage provisions of the FLSA; they are not exempt.

       52.    Twin Peaks Girls are not paid for all of their time worked.

       53.    Twin Peaks knew or should have known of its obligations under the

FLSA to compensate non-exempt employees for all time worked.

       54.    Twin Peaks willfully failed to pay Twin Peaks Girls for all time

worked, including attending mandatory pre-shift meetings, attending mandatory

monthly meetings, changing into and out of uniforms and complying with image

and costume standards, and performing other pre-shift work.

       55.    This unpaid time must be paid at the full minimum wage rate, without

utilizing the tip credit.

       56.    Twin Peaks’ failure to pay all wages due to Twin Peaks Girls violates

the provisions of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.




                                          11
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 12 of 18




      57.    As a result, Twin Peaks is liable to Twin Peaks Girls for unpaid wages,

interest, liquidated damages, costs, expenses, attorneys’ fees, and any other

damages and relief the Court deems just and proper.

                            b.    Unlawful Kickbacks

      58.    Enegren incorporates by reference all other paragraphs of this

Complaint.

      59.    As part of Twin Peaks’ willful practices and policies, it requires Twin

Peaks Girls to bear the cost of uniforms during their employment.

      60.    Twin Peaks requires Twin Peaks Girls to adhere to strict image and

costume standards.

      61.    Twin Peaks willfully causes Twin Peaks Girls to incur the expenses of

purchasing these uniforms and complying with the strict image and costume

standards, without reimbursement, thereby failing to pay Twin Peaks Girls

minimum wages after deduction of these unreimbursed expenses.

      62.    This creates an employer “kickback” and violates the provisions of the

Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

      63.    Twin Peaks knew or should have known that its pay and

reimbursement policies, practices, and methodology results in failure to pay Twin

Peaks Girls at the required minimum wage, violating the provisions of the Fair

Labor Standards Act.

      64.    As a result, Twin Peaks is liable to Twin Peaks Girls for

reimbursement of uniform and image expenses, unpaid wages, interest, liquidated



                                         12
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 13 of 18




damages, costs, expenses, attorneys’ fees, and any other damages and relief the

Court deems just and proper.

                 c.     Undercompensation Due to Tip Sharing

      65.    Enegren incorporates by reference all other paragraphs of this

Complaint.

      66.    Twin Peaks requires Servers to share tips.

      67.    Specifically, servers must “pay” Bartenders, Hostesses, and Bussers a

fixed percentage of their gross sales receipts.

      68.    Twin Peaks fails to ensure that servers earn at least the applicable

minimum wage for every hour worked.

      69.    In contravention of the FLSA, when Servers do not receive enough in

tips to cover the claimed tip credit, after mandatory tip deductions to share with

non-Servers, Twin Peaks does not raise their cash wage to ensure they earn at least

the minimum wage.

      70.    Twin Peaks’ willful failure to pay all wages due to Servers violates the

provisions of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

      71.    As a result, Twin Peaks is liable to Twin Peaks Girls for unpaid wages,

interest, liquidated damages, costs, expenses, attorneys’ fees, and any other

damages and relief the Court deems just and proper.

                           Collective Action Allegations

      72.    Enegren incorporates by reference all other paragraphs of this

Complaint.



                                           13
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 14 of 18




      73.    Enegren brings this FLSA claim as an “opt-in” collective action on

behalf of herself and similarly situated Twin Peaks Girls pursuant to 29 U.S.C.

§ 216(b).

      74.    The FLSA claims may be pursued by those who opt-in to this case

pursuant to 29 U.S.C. § 216(b).

      75.    Enegren, individually and on behalf of other Twin Peaks Girls, seeks

relief on a collective basis for Twin Peaks’ practices of failing to properly

compensate Twin Peaks Girls for all time worked and for the unlawful “kickbacks”

received.

      76.    Enegren, individually and on behalf of other Servers, seeks relief on a

collective basis for Twin Peaks’ failure to pay minimum wages in certain work

weeks due to Twin Peaks’ tip-sharing requirements.

      77.    The number and identity of other Plaintiffs yet to opt-in may be

ascertained from Twin Peaks’ records, and potential class members may be notified

of the pendency of this action via U.S. Mail.

      78.    Enegren and other Twin Peaks Girls are similarly situated in that:

             a. They are currently working and/or have previously worked for Twin
                Peaks;

             b. They are currently subject to and/or have been previously subjected
                to the same pay policies and practices of Twin Peaks;

             c. They were required by Twin Peaks to attend mandatory daily pre-
                shift meetings and were not compensated for their attendance;

             d. They were required by Twin Peaks to attend mandatory monthly
                meetings and were not compensated for their attendance;



                                           14
     Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 15 of 18




              e. They were required to change into and out of uniforms per Twin
                 Peaks’ requirements and were not paid for this time;

              f. They were required to purchase uniforms for employment, and were
                 not compensated for these expenses; and

              g. Servers are subject to the same tip-sharing program that
                 sometimes results in them not being paid at least the minimum
                 wage.

       79.    Enegren requests the Court enter an order allowing Enegren to send

notice of this collective action to all past and present Twin Peaks Girls who

currently work or have previously worked at any of Defendants’ Twin Peaks

locations at any time during the past three years.

       80.    Enegren requests that the Court conditionally certify these FLSA

claims as a collective action under 29 U.S.C. § 216(b).

       81.    Enegren requests that the Court permit similarly situated Twin Peaks

Girls to file consents to opt-in and join this collective action as party Plaintiffs.

       82.    Twin Peaks’ unlawful actions, as alleged in all subsections of Count I

of this Complaint, occurred throughout the limitations period and are ongoing.

                                  Request for Relief

       83.    Enegren requests that the Court enter judgment against Twin Peaks

and award her and other Twin Peaks Girls who opt in to this action the following

damages and relief:

              a.     Designation of this action as a collective action, and prompt
                     issuance of notice pursuant to 29 U.S.C. § 216(b), apprising
                     them of the pendency of this action, and permitting them to
                     assert timely FLSA claims in this action by filing individual
                     Consents to participate in this action pursuant to 29 U.S.C. §
                     216(b);

                                            15
Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 16 of 18




       b.     Designation of Enegren as representative of the Collective Class;

       c.     Designation of Enegren’s counsel as class counsel for the
              Collective Class;

       d.     An amount equal to all unpaid wages, calculated at the proper
              rates, for the three-year period preceding the filing of this
              action;

       e.     Liquidated damages under the FLSA in an amount equal to all
              unpaid back wages;

       f.     Reimbursement of expenses related to uniforms and associated
              image and costume maintenance required by Twin Peaks;

       g.     Liquidated damages under the FLSA in an amount equal to all
              unreimbursed expenses;

       h.     Costs and expenses of this litigation, including attorneys’ fees;

       i.     Pre- and post-judgment interest, calculated at the maximum
              rate allowed by law; and

       j.     Such other and further relief as the Court may deem just and
              proper.

                        Demand for Jury Trial

 Enegren requests a jury trial on all claims and issues.

                     Designation of Place of Trial

 Enegren designates Kansas City, Kansas as the place of trial.




                                    16
Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 17 of 18




                                    Respectfully submitted,

                                    Foulston Siefkin LLP

                                    By /s/ Boyd A. Byers
                                        Boyd A. Byers                # 16253
                                        Paige D. Pippin              # 25485

                                    1551 North Waterfront Pkwy, Ste. 100
                                    Wichita, Kansas 67206-4466
                                    Telephone: 316-267-6371
                                    Facsimile: 316-267-6345
                                    Email: bbyers@foulston.com
                                           ppippin@foulston.com

                                    Tony F. Rupp               # 11590
                                    9225 Indian Creek Parkway, Suite 600
                                    Overland Park, KS 66210-2000
                                    Telephone: (913) 498-2100
                                    Facsimile: (913) 498-2101
                                    Email: trupp@foulston.com

                                          Attorneys for Plaintiffs




                               17
Case 2:17-cv-02285-DDC-GEB Document 1 Filed 05/17/17 Page 18 of 18
